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                                                                                Relief Requested
                                                                               Without a Hearing

                         UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF MAINE

In re:                                        )
                                              )
MALCOLM I. STEWART and                        )       Chapter 7
ELIZABETH J. STEWART,                         )       Case No. 19-10535 MAF
                                              )
                       Debtors.               )

 APPLICATION OF ANTHONY J. MANHART, CHAPTER 7 TRUSTEE, TO EMPLOY
                    KEENAN AUCTION COMPANY

         NOW COMES Anthony J. Manhart, the duly-appointed, qualified, and acting interim

Chapter 7 Trustee in the above-captioned Chapter 7 case (the “Trustee”), by and through his

counsel undersigned, and pursuant to 11 U.S.C. §§ 327 and 328, Federal Rule of Bankruptcy

Procedure 2014, and D. Me. LBR 2014-1, 2014-2, and 2014-3, respectfully represents:

         1.     On October 9, 2019, Malcolm I. Stewart and Elizabeth J. Stewart (together,

“Debtors”) filed an original voluntary petition under Chapter 7 of the United States Bankruptcy

Code (the “Code”).

         2.     The Trustee is the duly-appointed, qualified, and acting interim Chapter 7 trustee

in this case.

         3.     The Trustee wishes to employ Keenan Auction Company (“Keenan”) as

auctioneer to assist him in a live onsite auction of certain personal property of Debtors, including

retail inventory, equipment, shelving, and displays located at 2179 Heald Highway, Union,

Maine (collectively, the “Property”).

         4.     The Trustee now requests approval to employ Keenan for the purpose of

evaluating, marketing, preparing for sale, and auctioning the Property pursuant to the terms set

forth in the November 7, 2019, Auction Proposal of Keenan, a true copy of which is attached
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hereto as Exhibit A, which describes the services that Keenan will render to the Trustee and the

estate in further detail and also includes the terms of Keenan’s proposed compensation and

expenses (including 10% commission plus approved advertising and expenses), which the

Trustee requests that the Court approve in its Order approving this Application.

       5.      It is anticipated that Keenan will assist the Trustee by conducting a live onsite

auction of the Property and related services.

       6.      The Trustee believes that Keenan is well qualified by experience to assist the

estate and conduct the services outlined herein.

       7.      Section 327(a) of the Code provides:

               Except as otherwise provided in this section, the trustee, with the court’s
       approval, may employ one or more attorneys, accountants, appraisers, auctioneers,
       or other professional persons, that do not hold or represent an interest adverse to
       the estate, and that are disinterested persons, to represent or assist the trustee in
       carrying out the trustee’s duties under this title.

       8.      Section 328(a) of the Code provides:

              The trustee, or a committee appointed under section 1102 of this title, with
       the court’s approval, may employ or authorize the employment of a professional
       person under section 327 or 1103 of this title, as the case may be, on any reasonable
       terms and conditions of employment, including on a retainer, on an hourly basis, or
       on a contingent fee basis.

       9.      It is in the best interest of the Trustee and the estate that Keenan be retained.

       10.     The Trustee is satisfied from the Affidavit of Steven P. Keenan, filed together

herewith, that Keenan does not hold or represent any entity having an interest adverse to the

estate in connection with this case and that Keenan is a disinterested person within the meaning

of §§ 327(a) and 101(14) of the Code. Therefore, the Trustee’s retention of Keenan under § 327

of the Code is proper and appropriate.

       WHEREFORE, Anthony J. Manhart, Chapter 7 Trustee, requests that the Court authorize

and allow him to employ Keenan Auction Company, on the terms and conditions outlined above,

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including authorizing, allowing, and empowering the Trustee to enter into, perform,

consummate, and implement Exhibit A attached hereto, and grant him such other and further

relief as is just and equitable under the circumstances.

       Dated at Portland, Maine, this 8th day of November, 2019.

                                                   /s/ Bodie B. Colwell
                                                   Bodie B. Colwell
                                                   Counsel for Anthony J. Manhart,
                                                   Chapter 7 Trustee

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                                 CERTIFICATE OF SERVICE

        I, Bodie B. Colwell, hereby certify that I caused to be served true and correct copies of
the above Application, the Affidavit of Steven P. Keenan, the proposed Order, and this
Certificate of Service, on each of the parties set forth on the Service List below, via First Class
U.S. mail, postage fully prepaid, on this date.

        All other parties listed on the Notice of Electronic Filing have been served electronically
on this date.

       Dated at Portland, Maine, this 8th day of November, 2019.

                                                   /s/ Bodie B. Colwell
                                                   Bodie B. Colwell
                                                   Counsel for Anthony J. Manhart,
                                                   Chapter 7 Trustee

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                                            Service List

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1 Runway Road
South Portland, ME 04106




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